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1    Olaf W. Hedberg, SBN #151082
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2    Sacramento, CA 95814
     (916) 447-1192
3    Attorney for Defendant

4                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                   )
     UNITED STATES OF AMERICA                            No. 2:09-CR-193 FCD
                                                   )
8
                                                   )
                    Plaintiff,                           STIPULATION AND ORDER.
                                                   )
9          vs.
                                                   )
                                                         Date: April 26, 2010
                                                   )
10   FRANK PAUL TURNER, JR.                              Time: 10 am
                                                   )
     LESLIE MILLER BELL, JR.                             Judge: Hon. Frank C. Damrell, Jr.
                                                   )
11   ANTHONY BERNARD WILSON et al
                                                   )
12                  Defendant.

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            IT IS HEREBY STIPULATED by and between the parties hereto through their
14
     respective counsel, JILL THOMAS, Assistant Untied States Attorney, attorney for Plaintiff,
15
     OLAF HEDBERG, attorney for defendant FRANK PAUL TURNER, JR., SHARI RUSK,
16
     attorney for LESLIE MILLER BELL, JR. and MICHAEL LONG, attorney for ANTHONY
17
     BERNARD WILSON that the status conference now scheduled for April 26, 2010 at 10 am be
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     vacated and a new date of June 28, 2010 at 10 am be set for status conference. Defendant
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     Anthony Bernard Wilson has only recently been added (as of April 7, 2010) to this case, and his
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     counsel has only begun to receive discovery. In addition, the parties have been negotiating the
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1    terms of a proposed plea agreement.

2           It is further stipulated and agreed between the parties that the period beginning April. 26,

3    2010 and ending June 28, 2010, should be excluded in computing the time within which the trial

4    of the above criminal prosecution must commence for the purpose of the Speedy Trial Act for

5    defense preparation. The defense has been engaged in ongoing legal research and investigation.

6    All parties stipulate and agree that this is an appropriate exclusion of time within the meaning of

7    Title 18, United States Code, Section 3161(h)(8)(iv) (Local Code T4).

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9                                                         Respectfully submitted,
                                                          Dated this April 21, 2010
10                                                        By /s/ Olaf Hedberg
                                                          Olaf W. Hedberg, Attorney at Law
11                                                        Attorney for Frank Paul Turner, Jr.

12
                                                          Dated this April 21, 2010
13                                                        By /s/ Shari Rusk
                                                          Shari Rusk, Attorney at Law
14                                                        Attorney for Leslie Miller Bell, Jr.

15                                                        Dated this April 21, 2010
                                                          by /s/ Michael Long
16                                                        Michael Long
                                                          Attorney for Anthony Wilson
17
                                                          Dated this April 21, 2010
18                                                        Lawrence Brown
                                                          Acting United States Attorney
19                                                        /s/ Olaf Hedberg for Jill Thomas
                                                          Jill Thomas
20                                                        Assistant U.S. Attorney

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1                                       ORDER

2    IT IS SO ORDERED.

3
     DATED: April 21, 2010             _______________________________________
4                                      FRANK C. DAMRELL, JR.
                                       UNITED STATES DISTRICT JUDGE
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